














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 1919-06





TERRY WAYNE MITCHELL, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE TENTH COURT OF APPEALS

ELLIS COUNTY





Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedures 68.4(i)
and 68.5, because the petition does not contain a complete copy of the opinion of the
court of appeals and the grounds and reasons for review are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Filed: April 25, 2007

Do Not Publish


